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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

FRANK MAURO,                                          §
                                                      §
     Plaintiff,                                       §
                                                      §
v.                                                    §
                                                      §       Civil Action No. 4:22-cv-01969
FEDERAL NATIONAL MORTGAGE                             §
ASSOCIATION AND RUSHMORE                              §
LOAN MANAGEMENT SERVICES,                             §
LLC,                                                  §
                                                      §
     Defendants.                                      §

                              JOINT STIPULATION OF DISMISSAL

          Plaintiff Frank Mauro (“Plaintiff”) and Defendant Federal National Mortgage

Association (“Defendant” or “Fannie Mae” and together with Plaintiff, the “Parties”),

respectfully file this Joint Stipulation of Dismissal and show:

          The Parties hereby report to the Court that the dispute between the Parties has been

settled and respectfully request that the Court sign an order of voluntary dismissal as to the

above-referenced claims ordering that:

          1.      this Stipulation of Dismissal is granted; and

          2.      all of claims in this Action by Plaintiff are dismissed without prejudice to the re-

filing of same; and

          3.      that costs are taxed against Plaintiff.

          The foregoing is stipulated by the Parties by and through their respective counsel of

record.




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                                           Respectfully submitted,

                                   By:     /s/ Mark D. Cronenwett
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                                   ATTORNEYS FOR DEFENDANT

                                   and

                                   By: /s/ Jason A. LeBoeuf with permission by Mark
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                                    ATTORNEYS FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document was
forwarded to the counsel of record listed below by ECF notification on July 26, 2022.

       Jason A. LeBoeuf
       LeBoeuf Law Firm, PLLC
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       Garland, TX 75040

                                                   /s/ Mark D. Cronenwett
                                                   MARK D. CRONENWETT




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